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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Kevin Scott Karsjens, David Leroy Gamble,                  Civil No. 11-3659 (DWF/TNL)
Jr., Kevin John DeVillion, Peter Gerard
Lonergan, James Matthew Noyer, Sr.,
James John Rud, James Allen Barber,
Craig Allen Bolte, Dennis Richard Steiner,
Kaine Joseph Braun, Christopher John
Thuringer, Kenny S. Daywitt, Bradley Wayne
Foster, Brian K. Hausfeld, and all others
similarly situated,

                     Plaintiffs,
                                                                                  ORDER
v.

Jodi Harpstead1, Kevin Moser, Peter Puffer,
Nancy Johnson, Jannine Hébert, and Ann
Zimmerman, in their individual and official
capacities,

                     Defendants.

       The above-entitled matter was certified as a class action with appointed counsel on

July 24, 2012. (Doc. No. 203 (“Class Cert. Order”).) The Class consists of “[a]ll patients

currently civilly committed in the Minnesota Sex Offender Program pursuant to Minn.

Stat § 253B.” (Doc. No. 203 at 11.) Gustafson Gluek PLLC serves as Class Counsel.

(Id. at 12.)

       Due to the complex history of this case, the Court has issued several orders either

staying cases or lifting stays in cases brought by individuals or groups of individuals who


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       Pursuant to Fed. R. Civ. P. 25(d), Jodi Harpstead, in her official capacity as the
current commissioner of the Department of Human Services, is automatically substituted
for former commissioner Emily Johnson Piper. Fed. R. Civ. P. 25(d).
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have been civilly committed to the Minnesota Sex Offender Program. Most recently, and

in large part due to the Eighth Circuit’s recent remand, the Court issued a Sixth Amended

Order staying all current and future civil rights and/or habeas cases sufficiently related to

the pending litigation in this matter. (Doc. No. 1163.)

       The Court continues to receive numerous letters from class members about

pending case and certain stayed matters. Multiple class members have also filed pro se

motions regarding various issues. Because Class Counsel has been appointed in this

case, and in order to manage this litigation efficiently and fairly, the Court hereby orders

that no further letters, motions, or other submissions from class members will be

addressed by the Court unless filed through class counsel.

       Accordingly, IT IS HEREBY ORDERED that:

       1.     Any future letters, motions, or other submissions on the behalf of class

Members shall be filed through Class Counsel. To be clear, individual class members or

groups of class members shall not file any further pro se motions unless granted

permission by the Court; and

       2.     If individual class members or groups of class members send letters,

Motions, or other submissions to Chambers or to the Clerk’s Office for filing in violation

of this Order, the Clerk of Court is directed to return such letter, motion, or submission to

the sender with a copy of this Order.

Dated: June 30, 2021                       s/Donovan W. Frank
                                           DONOVAN W. FRANK
                                           United States District Judge




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